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 7
 8                                  UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )          CASE NUMBER: 1:07-cr-00234-OWW
                                                      )                       (1:07-MJ-00204-SMS)
11                                                    )
                                                      )
12                          Plaintiff,                )
                                                      )          STIPULATION AND ORDER TO
13   v.                                               )          MODIFY PRETRIAL SERVICES
                                                      )          REPORT REGARDING PROPERTY
14   NOE SANCHEZ QUINTERO,                            )          BOND
                                                      )
15                          Defendant.                )
                                                      )
16
17           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and
18   the defendant by and through his attorney, that the Order of this court setting conditions for release of
19   defendant on property bond be modified only to the extent of reducing the amount of bond required
20   on real property owned by Francisco Sanchez-Quintero from $150,000 to $100,000. Good cause exists
21   for said stipulation and order for the following reasons:
22           On September 18, 2007, Pretrial Services Officer, Jacob M. Scott transmitted to Counsel’s
23   office a Pretrial Services Report indicating a Total Equity Bond, secured in equity in property owned
24   by Maria De Jesus Sanchez, and $150,000 property bond, secured by equity in property owned by
25   Francisco Sanchez.
26           Upon receipt of the Appraisal/Comparative Market Analysis, it has been discovered that
27   Francisco Sanchez has only $100,000 in equity available for the property bond. However, Maria
28   Sanchez has $210,000 equity available.
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 1            Defendant’s counsel contacted Pretrial Services Officer Jacob M. Scott and Assistant United
 2   States Attorney Laurel J. Montoya and no objection was raised by either of them to this request.
 3            Accordingly, defendant respectfully requests that the Pretrial Services Report be revised to
 4   reflect this information.
 5
 6   Dated: October 10, 2007                                       /s/ Salvatore Sciandra
                                                                   SALVATORE SCIANDRA
 7                                                                 Attorney for the Defendant,
                                                                   NOE SANCHEZ QUINTERO
 8
 9
10   Dated: October 10, 2007                                       /s/ Laurel J. Montoya
                                                                   LAUREL J. MONTOYA
11                                                                 Assistant United States Attorney
12
13                                                 ORDER
14            IT IS HEREBY ORDERED that the Order of this court setting conditions for release of
15   defendant,NOE SANCHEZ QUINTERO, on property bond be modified only to the extent of reducing
16   the amount of bond required on real property owned by Francisco Sanchez-Quintero from $150,000
17   to $100,000. FURTHER, that all other conditions of release remain the same .
18
19   IT IS SO ORDERED.
20   Dated:      October 11, 2007                      /s/ Sandra M. Snyder
     icido3                                     UNITED STATES MAGISTRATE JUDGE
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     U.S. v. NOE SANCHEZ QUINTERO
     CASE NO.: 1:07-CR-00234-OWW (1:07-MJ-00294-SMS)
     STIPULATION AND [PROPOSED ORDER] TO MODIFY PRETRIAL SERVICES REPORT REGARDING PROPERTY BOND         2
